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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DISTRICT
SALA NAAMBWE and YVETTE NIMENYA                     Case No.:    4:17-cv-04123-LLP

       Plaintiffs,
                                                    DEFENDANT’S TRIAL BRIEF ON EQUAL
                      vs.                             OPPORTUNITY OFFENDERS AND
                                                    NONDISCRIMINATORY HARASSMENT
SMITHFIELD FOODS, INC.

       Defendant.

       Defendant Smithfield Packaged Meats Corp. (“Smithfield”), files its Trial Brief regarding

equal opportunity offenders and nondiscriminatory harassment under Title VII.

       To prove actionable retaliation or discrimination, Plaintiffs must show they faced

discriminatory adverse action – that they were treated differently because of their race, national

origin or protected activity and that the treatment was materially adverse to their

employment. Title VII is not a general civility code, but instead it is “predicated on

discrimination,” and its plain language requires a plaintiff to show disparate treatment. Oncale v.

Sundowner Offshore Servs., Inc., 523 U.S. 75, 80 (1998); Holman v. Indiana, 211 F.3d 399, 404–

05 (7th Cir. 2000) (finding Title VII inapplicable where alleged harasser treated male and female

employees equally by harassing them both). When employees act rudely or inappropriately

toward their co-workers regardless of their race, national origin, or protected activity, their

conduct does not fall within the purview of discrimination law. See, e.g., Sampson v. City of

Fort Smith, Arkansas, 255 F. Supp. 3d 873, 893–94 (W.D. Ark. 2017) (finding no discrimination

where police department unfairly provided answers to test to ‘favored’ applicants, but favorites

were not based on race); Ellison v. Wal-Mart Stores, Inc., No. 11-5070, 2012 WL 1121332, at

*10 (W.D. Ark. Apr. 3, 2012) (no Title VII sex discrimination based on rumors about an

employee relationship because the rumors applied to both sexes).

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       Further, even if the conduct is directed at Plaintiffs, which Defendant denies, specifically,

general rudeness or profanity does not qualify as actionable harassment or adverse action under

the law. Burkhart v. Am. Railcar Indus., Inc., 603 F.3d 472, 477 (8th Cir. 2010) (“standoff

attitude” and “petty slights or minor annoyances” do not qualify as actionable retaliation); Thorn

v. Amalgamated Transit Union, 305 F.3d 826, 831 (8th Cir. 2002) (“[I]n employer retaliation

cases, ‘ostracism and rudeness by supervisors and co-workers do not rise to the level of an

adverse employment action.’”); Somoza v. Univ. of Denver, 513 F.3d 1206, 1214–15 (10th Cir.

2008) (plaintiffs did not establish actionable retaliation where alleged adverse action involved

co-workers rolling their eyes and laughing at them during a staff meeting and causing

embarrassment); Harris v. Donahoe, No. 4:11CV0411 TCM, 2011 WL 5222494, at *5 (E.D.

Mo. Nov. 2, 2011) (no adverse action because “offensive” conduct did not cause plaintiff

“concrete harm); Casey v. Riedel, 195 F. Supp. 2d 1122, 1131 (S.D. Iowa 2002) (finding

“ostracism and rudeness… do not rise to the level of an adverse employment action, unless

evidence indicates the behavior had an impact on the employee's job title, salary, benefits, or any

other material aspect of employment”).

Date: October 19, 2018                       Respectfully submitted,

                                             SMITHFIELD PACKAGED MEATS CORP.

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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was served via the Court’s electronic

filing system on the following counsel for Plaintiffs:

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